
If the defendant can defeat the plaintiff before a justice of the peace, by not pleading discount, &amp;c., and can defeat the plaintiff in this Court by pleading discount, the plaintiff would be totally defeated.
The plaintiff cannot always ascertain what sum he ought to credit. The defendant may refuse to settle accounts, &amp;c. Curia advisare vult. December term, 1808, judgment of nonpros, was entered. See Woollet v. Cloutman, Doug. 244; Wase v. Wyburd, Id. 246; Ailway v. Burrows, Id. 263; Wiltshire v. Lloyd, Id. 381, 382; Pitts v. Carpenter, 2 Str. 1191.
